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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 MONO-SYSTEMS, INC.,                          :
 BUZZARD CORPORATION,                         :
 ZORBA INDUSTRIES, INC., and                  : Case No.:
 JORDAN HANDLER,                              :
 c/o Victor A. Walton, Jr., Esq.              :
     Elizabeth S. Alexander, Esq.             :
     Vorys Sater Seymour and Pease LLP        : Judge: _________________________
     52 East Gay Street, P.O. Box 1008        :
     Columbus, OH 43216-1008                  :
                                              :
                               Plaintiffs,    :
                                              :
        v.                                    :
                                              :
 NIEDAX MONOSYSTEMS, INC.                     :
 ACFB Incorporated, Registered Agent          :
 200 Public Square, Suite 2300                :
 Cleveland, OH 44114                          :
                                              :
                               Defendant.     :


                                         C O M P LAI NT


       Mono-Systems, Inc., Buzzard Corporation, Zorba Industries, Inc., and Jordan Handler

(collectively, the “Sellers”), by their undersigned counsel, for their Complaint against Niedax

MonoSystems, Inc. (“Buyer”), allege as follows:

                                  NATURE     OF THE   ACTION

       1.      Plaintiffs, sellers of certain assets under the Asset Purchase Agreement (the

“Agreement”) between Sellers and Buyer, dated December 16, 2020, bring this action seeking

specific performance of that Agreement, damages for its breach, and equitable relief.

       2.      Plaintiffs sold all assets of a thriving business to Buyer for a payment to be made

in two installments: one at the closing of the sale, and another, the Earn-Out Payment, a year
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later, provided the business met a certain earning threshold for 2021. The Earn-Out Payment—at

least $3,250,000, and perhaps as much as $8,250,000—was important to Sellers, so the

Agreement required Buyer to provide Sellers with financial data to check whether the 2021

earning threshold was met.

       3.      The deal closed and the initial payment was made without incident. However,

soon thereafter, Buyer appears to have decided to violate the Agreement in changing the business

model in 2021 for the primary purpose and with the effect of reducing sales and earnings in and

the Earn-Out Payment. Buyer discarded a substantial amount of inventory and eliminated over a

dozen product lines, including inventory for which orders had already been placed by customers,

decreasing profits for 2021. And, though it admitted that the business was on track to reach the

earnings target for 2021 as of August of that year (entitling Sellers to the Earn-Out Payment),

Buyer later claimed that there was an accounting mistake and the business had not been

profitable. Then, Buyer failed to give Sellers certain financial reports it was required to provide

under the Agreement—financial reports Sellers would need to verify that this “mistake” existed

and that Buyer properly calculated the Earn-Out Payment. These reports were not provided by

the deadline set in the Agreement, and, despite many demands, have not been provided to this

day.

       4.      Sellers bring this action to obtain the financial reports and recover the Earn-Out

Payment they are entitled to under the Agreement.

                                          THE PARTIES

       5.      Each of the corporate plaintiffs, Mono-Systems, Inc., Buzzard Corporation, and

Zorba Industries, Inc. are corporations organized and validly existing under the laws of the State

of New York and each maintains its principal place of business in the State of New York.




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       6.      Jordan Handler is a natural person who is a resident of the State of Texas.

       7.      Upon information and belief, Defendant Niedax MonoSystems, Inc. is

incorporated under the laws of the State of Ohio and maintains its principal place of business in

the State of Ohio. Upon information and belief, until 2021, Niedax MonoSystems, Inc. was

known as Niedax Mono, Inc., and under that name was a special purpose entity created in 2020

for purpose of the acquiring the assets Sellers conveyed pursuant to the Agreement.

                                  JURISDICTION        AND   VENUE

       8.      Subject-matter jurisdiction is based upon 28 U.S.C. § 1332(a) and (a)(1), in that

the amount in controversy exceeds $75,000, exclusive of interest and costs, and the controversy

is between citizens of different states.

       9.      This Court has jurisdiction over the defendant because it is a resident of Ohio and

because, in the Agreement, it agreed that “all actions or proceedings arising out of or in

connection with this Agreement shall be tried and litigated exclusively in the state or federal

courts located in Franklin County, Ohio.”

       10.     Venue in this judicial district is proper under 28 U.S.C. §§ 1391(b)(1) and (c)(2)

because the defendant is a resident of this judicial district and because the Agreement provides

that “all actions or proceedings arising out of or in connection with this Agreement shall be tried

and litigated exclusively in the state or federal courts located in Franklin County, Ohio.”

                                      BACKGROUND FACTS

   A. The Asset Purchase Agreement

       11.     Each of the corporate plaintiffs, together with Jordan Handler as their sole

shareholder, as Sellers, entered into the Agreement to sell substantially all of the assets of the

corporations to defendant Niedax MonoSystems, Inc. as Buyer.




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       12.      The closing under the Agreement took place as of December 31, 2020.

       13.      Pursuant to the Agreement, the purchase price for the assets was the sum of

$15,500,000 (the “Initial Installment”), subject to a working capital adjustment, plus an

additional amount referred to in the Agreement as the “Earn-Out Payment.”

       14.      The Agreement states that the Earn-Out Payment shall be an amount “equal to 7.5

times the consolidated 2021 EBITDA [earnings before interest, taxes, depreciation and

amortization] of the businesses acquired from the Sellers (pro forma for the elimination of any

corporate charges or overhead booked by Buyer or its Affiliates other than market compensation

of up to $125,000 allocated to one senior-management level employee) minus the Initial

Installment.”

       15.      The Agreement further provides that the Earn-Out Payment is subject to the

conditions that 2021 EBITDA shall be equal to or greater than $2,500,000, and that the Earn-Out

Payment plus the Initial Installment shall not exceed $23,750,000.

       16.      There is no dispute between the parties as to the payment of the Initial

Installment.

       17.      As to the Earn-Out Payment, the Agreement provides:

       The entire Earn-Out Payment shall be paid promptly upon preparation of Mono-
       Systems’ financial statements for the period ending on December 31, 2021 by
       Mono-Systems’ auditors, but not later than April 30, 2022. For purposes of this
       Agreement, the Earn-Out Payment shall be calculated in accordance with GAAP,
       with no accruals, charges or adjustments that are not in the ordinary course of
       business, or that reflect business or financial decisions made for the primary
       purpose of reducing the Earn-Out Payment.

       18.      Buyer did not pay the Earn-Out Payment by April 30, 2022, nor subsequently.

       19.      Buyer has failed and refused to provide Sellers with the financial statements

expressly referred to in the Agreement, despite repeated demands for this information, and has




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not provided sufficient information to allow Sellers to assess the adequacy of Buyer’s purported

calculation of EBITDA for the year ended December 31, 2021 (the “Earn-Out Period”).

       20.     In the Agreement, the “Parties agree[d] that irreparable damage would occur if

any provision of this Agreement were not performed in accordance with the terms hereof and

that the Parties shall be entitled to specific performance of the terms hereof, in addition to any

other remedy to which they are entitled at law or in equity.”

   B. Buyer’s Bad Faith Attempt to Avoid the Earn-Out Payment.

       21.     After the closing, Buyer deliberately and in bad faith made a number of business

and financial decisions for the primary purpose of reducing the Earn-Out Payment, thereby

depriving Sellers of the benefit of the Agreement.

       22.     Following its acquisition of Sellers’ business, Buyer eliminated more than 14

product lines and categories and disposed of related inventory, including products listed in

outstanding quotations issued to customers for substantial orders.

       23.     Buyer removed large quantities of finished inventory from the shelves and

discarded the items into dumpsters in the factory parking lot.

       24.     The discarded inventory and discontinued product lines were of a quality and

quantity usable and salable in the ordinary course of business consistent with past practice, and

highly valuable.

       25.     The market value of the discarded inventory and product lines is at least

$700,000.

       26.     Before the closing, Sellers had accepted, but not yet fulfilled, orders for some of

the inventory items that Buyer discarded.




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        27.     Buyer could have fulfilled those orders using the discarded inventory items at

little additional cost to Buyer.

        28.     Had Buyer fulfilled those orders, it would have earned additional profits.

        29.     In addition to those orders, before the Closing, Sellers had made quotations or

submitted bids for the sale of the discarded inventory items that, if accepted, would have

generated additional profit for Buyer.

        30.     These quotations and bids were not rejected before Buyer discarded the inventory

items quoted or bid.

        31.     Because the inventory items were discarded, Buyer was unable to fulfill those

quotations and bids.

        32.     Moreover, Buyer instructed its Quotation Manager and Customer Service

Managers to stop all sales efforts with respect to the discontinued product lines, resulting in lost

orders from electrical contractors seeking products that were no longer offered, and in lost

customers.

    C. The Earn-Out.

        33.     On August 29, 2021, in response to an inquiry from Sellers’ counsel about

earnings for the first and second quarter of the 2021 Earn-Out Period, Buyer’s counsel, Christina

Hultsch, delivered summary financial information showing Total Revenue of $9,238,778 and

EBITDA of $1,259,811 for the first half of the Earn-Out Period.

        34.     No further information about the results of the Earn-Out Period was received from

Buyer until, upon inquiry from Sellers’ counsel about the audited financial statements required

under the Agreement, Buyer’s counsel advised on March 29, 2022: “The client advises that it




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will be another 2-3 weeks before the audited 2021 financial statements will be ready. I will share

as soon as I receive a copy.”

       35.     On April 26, 2022, Ms. Hultsch sent an email attaching, without explanation, not

“the audited financial statements” she previously referenced, but a PDF consisting of

approximately 100 lines of undocumented, ungrouped numbers labelled “Amount”

corresponding to a column labelled “Account.” The filename of the PDF was “Niedax

MonoSystems 2021 audited Trial Balance.” The last line of the file said: “Net Loss $3,644,709.”

       36.     When Sellers’ accountant said that ungrouped trial balances did not provide

sufficient information to determine the Earn-Out Payment and noted that the Agreement

expressly stated that the Earn-Out Payment would be paid “promptly upon preparation of Mono-

Systems’ financial statements for the period ending on December 31, 2021 by Mono-Systems’

auditors but not later than April 30, 2022,” Ms. Hultsch replied:

       unfortunately, since the financial statements are consolidated, they don’t have
       anything else they can provide that would be limited to MonoSystems information.
       The trial balance is the only way to get you the separate operations of MonoSystems
       without sending along Niedax, Inc. information as well.

       37.     On April 28, 2022, Ms. Hultsch responded to Sellers’ complaint about ungrouped

trial balance amounts by sending an excel spreadsheet with the trial balance amounts grouped.

This time, the last line of the spreadsheet said: “EBITDA ($3,270,727)”

       38.     When reminded that in August 2021 Buyer advised that the company had

EBITDA of $1,259,000 in just the first six months of the Earn-Out Period, Ms. Hultsch

responded that those results were a mistake.

       39.     Notably, the spreadsheet Buyer provided includes a line item “Inventory

Adjustment — $4,200,202.” This is striking not just because of Buyer’s earlier decision to

discard good, salable inventory, but also because it is an amount that exceeded the entire value of



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the inventory Buyer acknowledged receiving from Sellers at Closing before the Earn-Out Period

even began.

       40.     Buyer has not provided Sellers with any explanation or documentation of the

“Inventory Adjustment” except to say that that in the third quarter of 2021 suddenly Buyer

noticed a mistake in its inventory reports and that this adjustment was a correction.

       41.     Upon review of the trial balance information, in an email forwarded to Ms.

Hultsch, Sellers’ accountant noted the absence of auditors’ footnotes, and, among other things,

that the spreadsheet contained no balance sheet information, which was needed to determine the

Earn-Out Payment. He also noted that payroll expenses and costs of goods were oddly presented,

and that no amortization was included in lines 127-129 of the spreadsheet that covered the

EBITDA adjustment required by the Agreement.

       42.     In an email on May 6, 2022, Ms. Hultsch replied to the omission of amortization

in Buyer’s EBITDA calculation as follows: “This was an error. Because the Amortization

Allocation was newly entered for 2021 but after the year end, it was simply never mapped over.”

       43.     Applying the deduction for amortization, using Buyer’s trial balance data, just for

the sake of discussion, increases EBITDA by $1,371,711.

       44.     The Agreement prohibited Buyer from burdening the Earn-Out EBITDA with

“any corporate charges or overhead booked by Buyer or its Affiliates”, with one exception: if

Buyer chose during the Earn-Out Period to add “one senior-management level employee” as a

back-up to Jordan Handler, with the charge for such new employee capped at $125,000.

       45.     However, although Buyer terminated Mr. Handler’s employment in the second

quarter, Buyer chose not to hire a replacement manager at any time during 2021.




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        46.      When questioned whether Buyer’s trial balance properly reflected the

Agreement’s prohibition against burdening EBITDA with corporate overhead, Ms. Hultsch’s

reply confirmed that no such management employee was ever hired during 2021, and stated:

        A management fee of $249,151.63 was expensed in 2021 for the services provided
        by Niedax affiliated companies to Niedax MonoSystems, Inc. It covered a share of
        C. Steele and K. Müller’s salary… and related expenses (e.g., travel).

        47.      By virtue of the foregoing, Buyer’s purported EBITDA calculation violated the

terms of the Agreement by imposing this corporate overhead charge of $249,151.63.

        48.      When Sellers repeated their request for full audited statements with footnotes for

the Earn-Out Period, Ms. Hultsch responded:

        We are looking through the consolidated statements and will pull all applicable
        footnotes for your review. Again, the statements are consolidated and there are no
        standalone audited financial statements for MonoSystems and we will not share any
        information that relates to the parent entity.

        49.      As of the date of this complaint Sellers have not received the audited financial

statements or footnotes, as required by the Agreement, or any further information or explanation

about the results of the company for 2021 or the Earn-Out calculation.

        50.      Indeed, beginning at the end of March 2022, with the April 30, 2022 deadline for

calculation and payment of the Earn-Out Payment fast approaching, Sellers’ counsel made no

fewer than eleven unsuccessful email requests to Buyer’s counsel for financial statements and

related information relevant to the Earn-Out calculation.

                                       First Cause of Action
                                        Breach of Contract

        51.      Sellers reallege and incorporate by reference each of the foregoing paragraphs as

if set forth here in full.

        52.      The Agreement is a valid and existing contract between Sellers and Buyer.

        53.      Sellers have fully complied with their obligations under the Agreement.


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        54.      Buyer has breached its obligations under the Agreement in that it recorded

transactions with the specific intent of falsely reducing the Earn-Out Payment, did not pay the

Earn-Out Payment by April 30, 2022, or subsequently, and has repeatedly refused to provide

Sellers with the financial statements expressly referred to in the Agreement and required to be

provided by the Agreement, nor adequate accounting of information regarding EBITDA for the

Earn-Out Period.

        55.      Sellers have been damaged by Buyer’s breaches, and are entitled to an order and

judgment directing Defendant to (i) specifically perform the Agreement by providing to

Plaintiffs promptly a full set of audited financial statements of Niedax MonoSystems Inc. for the

year 2021; (ii) pay damages to Plaintiffs in an amount to be proven at trial, believed to be in

excess of $3,250,00, together with statutory pre-judgment interest thereon, comprising the Earn-

Out Payment, calculated in conformity to the pro forma adjustments as provided in the

Agreement; and (iii) to pay Plaintiffs post-judgment interest, and the costs and disbursements

expended as a result of this action.

                                      Second Cause of Action
                      Breach of the Covenant of Good Faith and Fair Dealing
                                        (In the Alternative)

        56.      Sellers reallege and incorporate by reference each of the foregoing paragraphs as

if set forth here in full.

        57.      The Agreement is a valid and existing contract between Sellers and Buyer.

        58.      Under the Agreement, Buyer had an obligation to compute the Earn-Out Payment

in good faith.

        59.      Under the Agreement, Buyer had an obligation to operate the business in 2021 in

good faith.




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        60.      Under the Agreement, Buyer had an obligation not to take acts that had a primary

purpose of avoiding the Earn-Out Payment, including by reducing 2021 EBITDA.

        61.      By intentionally destroying salable inventory, Buyer wasted corporate assets to

avoid the Earn-Out Payment.

        62.      By understating Niedax Monosystems, Inc.’s 2021 EBITDA, Buyer avoided

paying the Earn-Out Payment.

        63.      In doing so, it acted in bad faith to deprive Sellers of the benefit of the

Agreement.

        64.      Sellers have fully complied with their obligations under the Agreement.

        65.      Buyer has breached the covenant of good faith and fair dealing implied in the

Agreement by operation of law.

        66.      Accordingly, Sellers are entitled to an order and judgment directing Defendant to

(i) specifically perform the Agreement by providing to Plaintiffs promptly a full set of audited

financial statements of Niedax MonoSystems Inc. for the year 2021; (ii) pay damages to

Plaintiffs in an amount to be proven at trial, believed to be in excess of $3,250,00, together with

statutory pre-judgment interest thereon, comprising the Earn-Out Payment, calculated in

conformity to the pro forma adjustments as provided in the Agreement; and (iii) pay Plaintiffs

post-judgment interest, and the costs and disbursements expended as a result of this action.

                                        Third Cause of Action
                                         Unjust Enrichment
                                         (In the Alternative)

        67.      Sellers reallege and incorporate by reference each of the foregoing paragraphs as

if set forth here in full.

        68.      By intentionally destroying salable inventory and understating Niedax

MonoSystems, Inc.’s 2021 EBITDA, Buyer has avoided paying Sellers the Earn-Out Payment.


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         69.    Buyer has been enriched at Sellers’ expense.

         70.    It would be against equity and good conscience for Buyer to retain the funds that

should have been paid to Sellers as the Earn-Out Payment.

         71.    Accordingly, Sellers are entitled to an order and judgment directing Defendant to

(i) pay to Plaintiffs an amount to be proven at trial, believed to be in excess of $3,250,00,

together with statutory pre-judgment interest thereon, comprising the Earn-Out Payment,

calculated in conformity to the pro forma adjustments as provided in the Agreement; and (ii) to

pay Plaintiffs post-judgment interest, and the costs and disbursements expended as a result of

this action.

                                     PRAYER     FOR   RELIEF

         WHEREFORE, Plaintiffs respectfully pray for judgment against Defendant as follows:

         1.     Plaintiffs request an order and judgment directing Defendant to provide to Plaintiffs

promptly a full set of audited statements of Niedax MonoSystems Inc. for the year 2021;

         2.     Plaintiffs request a judgment for Plaintiffs in the amount of the Earn-Out Payment

calculated in conformity to the pro forma adjustments as provided in the Agreement, together with

pre- and post-judgment interest thereon from April 30, 2022;

         3.     Plaintiffs request a judgment awarding them the costs of this action, including

disbursements expended as a result of this action; and

         4.     Plaintiffs request such other and further relief as the Court deems just and proper.

                                              Respectfully submitted,



Dated:          9-19-2022                     /s/ Victor A. Walton, Jr.
                                              Victor A. Walton, Jr. (0055241)
                                              Elizabeth S. Alexander (0096401)
                                              Vorys, Sater, Seymour and Pease LLP



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                                          Handler



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